         Case 7:17-cv-00214 Document 8 Filed in TXSD on 08/07/17 Page 1 of 3




                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      MCALLEN DIVISION

 JUAN GUERRERO AND                                      §
 DIANA GUERRERO                                         §
      Plaintiffs,                                       §
                                                        §
 v.                                                     §              CASE NO. 7:17-cv-00214
                                                        §
 STATE FARM LLOYDS AND                                  §
 RAFAEL M. NAVARRO,                                     §
      Defendants.                                       §


                                   JOINT NOTICE OF SETTLEMENT


TO THE HONORABLE JUDGE OF SAID COURT:

           COME NOW, STATE FARM LLOYDS and RAFAEL M. NAVARRO, Defendants in the

above-entitled and numbered cause, and JUAN GUERRERO and DIANA GUERRERO, Plaintiffs

in the above-entitled and numbered cause, and file this Unopposed Notice of Settlement, and would

respectfully show unto this Honorable Court the following:

           1.         Plaintiffs and Defendants have recently reached a settlement.

           2.         Plaintiffs and Defendants have filed an Unopposed Motion to Dismiss with the

Court and are awaiting the Court’s signature on the Order of Dismissal.

           3.         There is an Initial Pretrial and Scheduling Conference set for Thursday, August 10,

2017 at 2:30 p.m.

           4.         Plaintiffs and Defendants would respectfully request that this setting be removed

from the docket.



                                          (signature page to follow)



Joint Notice of Settlement
         Case 7:17-cv-00214 Document 8 Filed in TXSD on 08/07/17 Page 2 of 3

                                               Respectfully submitted,

                                               /s/ Sarah A. Nicolas _____
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                                               ATTORNEY IN CHARGE FOR DEFENDANT
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                                       By:
                                               _/s/ Lory Sopchak______________
                                               Dan Cartwright
                                               State Bar No. 03942500
                                               Lory Sopchak
                                               State Bar No. 24076706
                                               lory@dcartwrightlaw.net
                                               ATTORNEYS FOR PLAINTIFFS


                              CERTIFICATE OF CONFERENCE

        I certify that the parties have conferred and neither party is opposed to the relief requested
in this Motion.

                                                  ___/s/ Sarah A. Nicolas______________
                                                      Sarah A. Nicolas




Joint Notice of Settlement
         Case 7:17-cv-00214 Document 8 Filed in TXSD on 08/07/17 Page 3 of 3


                                  CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above and foregoing document has been
served on the following counsel of record this 7th day of August 2017.

           Dan Cartwright
           Lory Sopchak
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           ATTORNEYS FOR PLAINTIFFS



                                                ___/s/ Sarah A. Nicolas______________
                                                    Sarah A. Nicolas




Joint Notice of Settlement
